                          Case 24-10140-JTD              Doc 161        Filed 04/08/24          Page 1 of 3



                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE
          In re:                                                           )
                                                                           )
          BYJU’S ALPHA, INC., 1                                            ) Chapter 11
                                                                           )
                                               Debtor.                     ) Case No. 24-10140 (JTD)
                                                                           )
                                                                           )
                                                                           )
                                                                           )
          BYJU’S ALPHA, INC.,                                              ) Adv. Pro. Case No. 24-50013 (JTD)
                                               Plaintiff,                  )
                                                                           )
                                               v.                          )
                                                                           )
          CAMSHAFT CAPITAL FUND, LP,                                       )
          CAMSHAFT CAPITAL ADVISORS, LLC,                                  )
          CAMSHAFT CAPITAL MANAGEMENT, LLC,                                )
          RIJU RAVINDRAN and INSPILEARN LLC,                               )
                                                                           )
                                               Defendants.                 )
                                                                           )

                      NOTICE OF AMENDED 2AGENDA OF MATTERS SCHEDULED
                         FOR HEARING ON APRIL 9, 2024 AT 10:00 A.M. (ET)

          Note: Judge Brendan L. Shannon will be presiding; but the hearing will still take place in
          Courtroom 5. This proceeding will be conducted in-person. All counsel and witnesses are
          expected to attend unless permitted to appear remotely via Zoom. Please refer to Judge Dorsey’s
          Chambers Procedures and the Court’s website (http://www.deb.uscourts.gov/ecourt-appearances)
          for information on who may participate remotely, the method of allowed participation (video or
          audio), Judge Dorsey’s expectations of remote participants, and the advance registration
          requirements. Registration is required by 4:00 p.m. (Eastern time) the business day before the
          hearing unless otherwise noticed using the eCourtAppearances tool available on the Court’s
          website. .

         ADJOURNED MATTER

         1.        Camshaft’s Motion to Dismiss Debtor’s Chapter 11 Case [D.I. 107, 2/29/24]



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               The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification
               number, is: BYJU’s Alpha, Inc. (4260). The location of the Debtor’s service address for purposes of this
               chapter 11 case is: 1007 N. Market St. Ste. G20 452, Wilmington, DE 19801.

31526724.1 2   Amended items are bolded.
                    Case 24-10140-JTD         Doc 161      Filed 04/08/24    Page 2 of 3



              Response Deadline:    March 14, 2024 at 4:00 p.m. (ET) - Extended to March 21, 2024 at
                                    4:00 p.m. (ET)

              Responses Received:

              A.     Debtor’s Objection to Camshaft’s Motion to Dismiss Debtor’s Chapter 11 Case
                     [D.I. 146, 3/21/24]

              B.     GLAS Trust Company LLC’s Joinder in Support of Debtor’s Objection to
                     Camshaft’s Motion to Dismiss Debtor’s Chapter 11 Case [D.I. 147, 3/21/24]

              Status: This matter is adjourned to a date to be determined.

         MATTERS GOING FORWARD

         2.   Camshaft Defendants and William Morton’s Motion for Stay Pending Appeal of Orders on
              Finding of Contempt and Granting Debtor’s’ Motion for a Preliminary Injunction [D.I.
              100, 3/28/24]

              Related Documents:

              A.     Order Granting Motion to Shorten Time [D.I. 104, 3/28/24]

              Response Deadline: April 5, 2024 at 5:00 p.m. (ET)

              Responses Received:

              B.     Debtor and GLAS Company LLC’s Opposition to Camshaft Defendants and
                     William Morton’s Motion for Stay Pending Appeal of Orders on Finding of
                     Contempt and Granting Debtor’s’ Motion for a Preliminary Injunction [D.I.
                     119, 4/5/24 (sealed)]

              Status: This matter is going forward.

         3.   Debtor’s Motion for A Ruling to Show Cause Why Riju Ravindran Should Not be Held
              in Contempt for Violating the Preliminary Injunction Order [D.I. 105, 3/29/24 (sealed)]

              Related Documents:

              A.     Motion of Debtor for Shortening Time Regarding Motion for A Ruling to Show
                     Cause Why Riju Ravindran Should Not be Held in Contempt for Violating the
                     Preliminary Injunction Order [D.I. 107, 4/ /24]

              Response Deadline to Motion to Shorten: April 3, 2024 at 4:30 p.m. (ET)

              Responses Received:

              B.     Letter to Hon. John T. Dorsey from Sheron Korpus on behalf of Riju Ravindran
                     [D.I. 110, 3/29/24]
31526724.1
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                     Case 24-10140-JTD         Doc 161     Filed 04/08/24     Page 3 of 3



               C.     Limited Objection of Defendant Riju Ravindran to Motion of Debtor for Shortening
                      Time Regarding Motion for A Ruling to Show Cause Why Riju Ravindran Should
                      Not be Held in Contempt for Violating the Preliminary Injunction Order [D.I. 113,
                      4/3/24]

               D.     Supplemental Certification of Counsel [D.I. 121, 4/8/24]

               Status: This matter is going forward as a status conference.

         Dated: April 8, 2024
                Wilmington, Delaware
                                             YOUNG CONAWAY STARGATT & TAYLOR, LLP

                                             /s/ Kenneth J. Enos
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                                             Kenneth J. Enos (Del. No. 4544)
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                                             -and-

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                                             Counsel for Debtor, BYJU’s Alpha, Inc.




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